       Case 1:16-cr-00107-SPW Document 373 Filed 02/05/18 Page 1 of 2

                                                                          FILED
                                                                               FEBO 5 2018
                                                                         Clerk, U S District Court
                                                                           District Of Montana
                                                                                  Billings
                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


UNITED STATES OF AMERICA,
                                                 CR 16-107-BLG-SPW-8
                     Plaintiff,

vs.                                               ORDER

MARISA ANN LYMAN,

                     Defendant.

      Upon the Defendant's Unopposed Motion to Extend Deadline (Doc. 372),

and for good cause being shown,

      IT IS HEREBY ORDERED that the following deadlines are extended as

follows:

      1.    Counsel shall attempt in good faith to resolve disputes over any

material in the presentence report. Unresolved objections to be relied upon at

sentencing shall be presented to the probation officer on or before February 13,

2018. U.S.S.G. § 6Al .2. Any unresolved objections are expected to be

included in the pre-sentence report, not in a sentencing memorandum.




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       Case 1:16-cr-00107-SPW Document 373 Filed 02/05/18 Page 2 of 2




      2.     The presentence report, in final form, including any unresolved

objections, shall be delivered to the Court and the parties on or before February

27, 2018.

      3.     Sentencing memoranda and supporting documents addressing all

relevant sentencing issues shall be filed on or before March 5, 2018. Absent good

cause shown, sentencing memoranda and supporting documents filed after March 5,

2018 will not be considered in addressing sentencing issues. Failure to timely file

sentencing memoranda may result in imposition of sanctions against counsel.

      4.     Responses to sentencing memoranda shall be filed on or before March

9, 2018.

      5.     Reply briefs will not be accepted for filing in sentencing matters.

      6.     The Court will resolve objections included in the Addendum to the

presentence report at the sentencing hearing in accordance with U.S.S.G. § 6Al.3.

      7.      All parties that intend to have witnesses testify at sentencing shall give

notice to this Court ten (10) days prior to the sentencing date.

      The Clerk shall forthwith notify the parties of the making of this Order .

              .      _y,A--
      DATED thts ____'2_ day of February, 2 0 ~


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                                                                   'ERS
                                                   U.S. DISTRICT JUDGE
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